                Case 23-10086-RAM         Doc 48      Filed 03/14/23      Page 1 of 1


                                                                          Jean-Claude Mazzola
                                                                          JEANCLAUDE@MAZZOLALINDSTROM.COM
                                                                          646.216.8585



                                            March 10, 2023
Via ECF

Hon. Robert A. Mark
United States Bankruptcy Court
Southern District of Florida
301 North Miami Avenue
Room 417
Miami, Florida 33128

          Re:   In re: Leslie Howard Roberts and Silvia Helena Roberts, debtors.
                 Petition No. 23-10086-RAM

Dear Judge Mark:

       We represent claimant Nicholas Bridger (Claim No. 8-1) and write to request to an
adjournment of the hearing scheduled for Tuesday, March 14, 2023, at 9:00 AM to Friday, April 14,
2023. This is Mr. Bridger’s first request for an adjournment.

       I am the only member of my firm who is licensed to practice in Florida’s Federal Courts and
am preparing for an upcoming trial scheduled to begin on March 16, 2023 in the New York Supreme
Court. We respectfully ask that the Court adjourn the hearing to April 14, 2023. We are working to
cure any perceived deficiencies in our filing, which may altogether moot this hearing.

        We are seeking time to resolve these disputes in an effort to conserve judicial resources and
expedite resolution of the claim. We have advised debtor’s counsel accordingly and requested that
they stipulate to an adjournment.


                                                  MAZZOLA LINDSTROM LLP
                                                   By: /s/ Jean-Claude Mazzola
                                                  Jean-Claude Mazzola Attorneys
                                                  for Nicholas Bridger
                                                  1350 Avenue of the Americas, 2nd Floor New
                                                  York, NY 10019
                                                  Tel: (646) 216-8585
                                                  Cell:(646) 250-6666
                                                  jeanclaude@mazzolalindstrom.com



                   1350 Avenue of The Americas, Second Floor, New York, New York 10019
                    1999 Avenue of The Stars, Suite 1100, Los Angeles, California 90067
                                       www.mazzolalindstrom.com
